Case 2:21-cr-00121-JCZ-DMD Document1 Filed 09/30/21 Page 1of5

  

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

INDICTMENT FOR VIOLATIONS OF THE FEDERAL
CONTROLLED SUBSTANCES ACT AND FEDERAL GUN CONTROL ACT —_

 

UNITED STATES OF AMERICA * CRIMINAL NO.:: 2 | — 1 9 1 "
v. * SECTION: SECT. A M AG. 4
RANDY FIELDS * VIOLATIONS: 21 U.S.C. § 841(a)(1)
21 U.S.C. § 841(b)(1)(B)
* 18 U.S.C. § 924(c)(1)(A)
18 U.S.C. § 922(g)(1)
* 18 U.S.C. § 924(a)(2)

18 U.S.C. § 922(0)

The Grand Jury charges that:

COUNT 1
(Possession with Intent to Distribute a Controlled Dangerous Substance)

On or about March 31, 2021, in the Eastern District of Louisiana, the defendant, RANDY
FIELDS, did knowingly and intentionally possess with the intent to distribute forty (40) grams or
more of a mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-
4-piperidinyl] propanamide, that is, fentanyl, a Schedule II Controlled Dangerous Substance, in
violation of Title 21 U.S.C. §§ 841(a)(1) and (b)(1)(B).

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Case 2:21-cr-00121-JCZ-DMD Document1 Filed 09/30/21 Page 2 of 5

COUNT 2
(Possession of a Firearm in Furtherance of a Drug Trafficking Crime)

On or about March 31, 2021, in the Eastern District of Louisiana, the defendant, RANDY
FIELDS, did knowingly possess a firearm in furtherance of a drug trafficking crime for which he
may be prosecuted in a court of the United States, to wit: Possession with the Intent to Distribute
a Controlled Dangerous Substance, as charged in Count 1 of this Indictment; all in violation of
Title 18, United States Code, § 924(c)(1)(A).

COUNT 3
(Felon in Possession of a Firearm)

On or about March 31, 2021, in the Eastern District of Louisiana, the defendant, RANDY
FIELDS, knowing that he had been convicted of a crime punishable by imprisonment for a term
exceeding one year, to wit: a felony conviction from April 16, 2014, in Orleans Parish Criminal
District Court, Case Number 513-062 “K,” for Aggravated Battery, in violation of LA-R.S. 14:34,
did knowingly and intentionally a possess firearm, to wit: a Glock Model 23 handgun, bearing
serial number BCDW590, said firearm having been shipped and transported in interstate
commerce, in violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

COUNT 4
(Possession of a Machine Gun)

On or about March 31, 2021, in the Eastern District of Louisiana, the defendant, RANDY
FIELDS, did knowingly possess a machinegun, that is, a Glock Model 23 handgun, bearing serial
number BCDW590, with a Glock auto-sear, in violation of Title 18, United States Code, Sections
922(0) and 924(a)(2).

NOTICE OF FORFEITURE
1. The allegations of Counts 1 through 4 of this Indictment are incorporated by

reference as though set forth fully herein for the purpose of alleging forfeiture to the United States.
Case 2:21-cr-00121-JCZ-DMD Document1 Filed 09/30/21 Page 3 of 5

2. As a result of the offense alleged in Count 1, the defendant, RANDY FIELDS,
shall forfeit to the United States pursuant to Title 21, United States Code, Section 853, any property
constituting or derived from any proceeds obtained directly or indirectly as the result of said
offense, and any property used or intended to be used in any manner or part to commit or to

facilitate the commission of said offenses, including but not limited to the following:

Glock Model 23, .40 S& W pistol, bearing serial number BCD W590,
with a Glock auto-sear.

3. As a result of the offenses alleged in Counts 1 through 4, the defendant, RANDY
FIELDS, shall forfeit to the United States pursuant to Title 18, United States Code, Section
924(d)(1), and Title 28, United States Code, Section 2461(c), any firearm or ammunition involved
in or used in the commission of said offenses, including but not limited to any firearm or

ammunition described above.

4. If any of the above-described property, as a result of any act or omission of the
defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be subdivided
without difficulty;
Case 2:21-cr-00121-JCZ-DMD Document1 Filed 09/30/21 Page 4 of 5

the United States shall seek a money judgment and, pursuant to Title 21, United States Code,

Section 853(p), forfeiture of any other property of the defendant up to the value of said property.

A TRUE BILL:

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INGA PETROVICH
Assistant United States Attorney
Louisiana Bar Roll No. 31284

New Orleans, Louisiana
September 30, 2021
Case 2:21-cr-00121-JCZ-DMD Document1 Filed 09/30/21 Page 5of 5

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